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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No: 22-cr-00243 (CKK)

Vv. 3 40 U.S.C. § 5104(e)(2)(G)
JODI WILSON, |
Defendant.
STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attormey for the District of Columbia, and the defendant,
Jodi Wilson, with the concurrence of her attorney, agree and stipulate to the below factual basis
for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate
that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
3. On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,

elected members of the United States House of Representatives and the United States Senate
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were meeting in separate chambers of the U.S. Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice
President Mike Pence was present and presiding, first in the joint session, and then in the Senate
chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the U.S. Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the U.S. Capitol;
however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

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crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $2.7 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the U.S. Capitol
from the time he was evacuated from the Senate Chamber until the session resumed.

Jodi Wilson’s Participation in the January 6, 2021, U.S. Capitol Riot

8. On or about January 5, 2021, defendant Jodi Wilson (“Wilson”) traveled with her
son, Cole Andrew Temple (“Temple”), along with friends Gabriel Burress and Madison Pettit,
from Swanton, Ohio to Washington, D.C. The purpose of the trip to Washington, D.C. was to
attend the rally to see then-President Donald Trump and to protest Congress’ certification of the
Electoral College occurring at the U.S. Capitol Building.

9. On January 6, 2021, Wilson, wearing a pink hooded sweatshirt underneath a dark
or black jacket, and Temple, wearing a dark hooded sweatshirt, a royal blue neck gaiter and a
dark blue knit cap with the word “AMERICA” on it, stood behind bike racks installed to prohibit

access to the U.S. Capitol Building on the east front of the U.S. Capitol.

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10. As others began to clash with police officers and begin to remove the bike racks,
Wilson shouted, “We need everybody. We can’t do this by ourselves. Get your asses down here
and let’s fucking do this. You want to make some fuckin’ noise ... We got to do this together.”
Minutes later, Wilson joined her friends Gabriel Burress and Madison Pettit and moved a rack
that had previously been separating rioters from the U.S. Capitol.

11. Wilson and Temple joined rioters on the steps on the east front of the U.S. Capitol
and stood a few feet away from rioters who were physically clashing with U.S. Capitol Police
and Metropolitan Police Department officers, though Ms. Wilson did not personally see those
interactions. The rioters were also forcefully trying to break into the U.S. Capitol.

12. After rioters had overrun the police officers guarding the Rotunda doors, at
approximately 3:01 p.m., Wilson, Temple, Burriss and Pettit, entered the U.S. Capitol.

13. Inside the U.S. Capitol, Wilson and Temple traveled from the Rotunda doors
foyer into the Rotunda and took photographs and recorded videos in both locations with their cell
phones. Cell phones associated with both Wilson and Temple were also identified as having
utilized a cell site consistent with providing service to a geographic area that included the interior
of the U.S. Capitol building.

14. | While inside the U.S. Capitol, Temple recorded videos and posted some or all of
the videos to Snapchat on January 6, 2021. Included with at least one of the recordings Temple
imposed captions that read “Shits going down” [sic] and “Go ahead, say some shit.” Temple also
filmed himself yelling, “just broke in this bitch.”

15. After being in the Rotunda for more than five minutes, at approximately 3:17
p.m., Wilson, Temple, Burriss, and Pettit exited the Rotunda.

Elements of the Offense

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16. Jodi Wilson knowingly and voluntarily admits to all the elements of 40 U.S.C. §
5104(e)(2)(G). Specifically, she admits that she willfully and knowingly entered the U.S.
Capitol Building, and, while inside the U.S. Capitol, she willfully and knowingly paraded,

demonstrated, or picketed.

Respectfully submitted,

MATTHEW M. GRAVES
United States Attorney
D.C. Bar No. 481052

By:  /s/Anita Eve
Anita Eve
Assistant United States Attorney
PA Bar No. 45519

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DEFENDANT’S ACKNOWLEDGMENT

I, __ Jodi Wilson , have read this Statement of the Offense and have
discussed it with my attorney. I fully understand this Statement of the Offense. I agree and
acknowledge by my signature that this Statement of the Offense is true and accurate. I do this
voluntarily and of my own free will. No threats have been made to me nor am I under the
influence of anything that could impede my ability to understand this Statement of the Offense
fully.

10/20/22 /s/ Jodi Wilson

Jodi Wilson
Defendant

Date:

 

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

10/20/22 /s/ Jodi Wilson

John L. Machado
Attorney for Defendant

Date:

 

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